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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JORGE PAVON HERNANDEZ, et al.,

Plaintiffs, 20 Civ. 4741 (PAE) (OTW)
=-\y-
ORDER
GEMINI DINER, et al.,

Defendants,

 

 

PAUL A. ENGELMAYER, District Judge:

On October 19, 2021, the Court directed the parties to submit a Joint Pretrial Order
prepared in accordance with the Court’s Individual Rules and Practices governing trials. Dkt.
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On November 8, 2021, the parties submitted their proposed joint pretrial order. Dkt. 49.
However, in its preparation for the final pretrial conference in this case, which is scheduled for
December 3, 2021, the Court has noticed deficiencies with that filing. These include the
following:

e Individual Rule 5.A(viii) requires “a brief summary of the substance of each
witness’s testimony.” The proposed pretrial order does not do so.

e individual Rule 5.A(x) requires “[a] list by each party of exhibits to be offered in
its case in chief, with one star indicating exhibits to which no party objects on
grounds of authenticity, and two stars indicating exhibits to which no party
objects on any ground.” The exhibit lists submitted by the parties do not so do.

e Individual Rule 5.B, “Required Pretrial Filings,” states, in part: “Each party shall

file and serve with the joint pretrial order: i. In all cases, motions addressing any
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evidentiary issues or other matters which should be resolved in limine; ii. In all
cases where a party believes it would be useful to the Court, a pretrial
memorandum of law; iii. In jury cases, requests to charge and proposed voir dire
questions.” The Court has not received requests to charge or voir dire questions.
The parties are directed to file a corrected proposed joint pretrial order, along with the
documents required to be filed and served with the joint pretrial order, by November 23, 2021.
Those submissions should be in full compliance with the Court’s Individual Rules and Practices.

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SO ORDERED.

 

PAUL A. ENGELMAYER >
United States District Judge
Dated: November 16, 2021

New York, New York
